         Case 4:18-cv-00523-MDH Document 31 Filed 07/08/20 Page 1 of 2




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Attorney for Defendant Western Wholesale Supply, Inc.

                              UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF IDAHO

  BRIAN KINNEBREW,                                  Case No. 4:18-cv-00523-DCN

                         Plaintiff,                 DEFENDANT WESTERN
                                                    WHOLESALE SUPPLY, INC.’S
  v.                                                MOTION FOR SUMMARY
                                                    JUDGMENT
  WESTERN WHOLESALE SUPPLY,
  INC., an Idaho Corporation, and
  WESTERN WHOLSESALE INSTALLED
  SALES, L.L.C., an Idaho Limited Liability
  Company,

                         Defendants.

       Defendant, Western Wholesale Supply, Inc., by and through counsel of record, HALL

ANGELL & ASSOCIATES, LLP, pursuant to F.R.C.P. 56 and in accordance with the Court’s

Amended Scheduling Order [Dkt. 29], hereby moves this Court for an Order granting summary

judgment on this matter and dismissing Plaintiff’s claims in their entirety and with prejudice.

This motion is supported by the record, pleadings, and memorandum in support filed herewith.

Oral argument is requested.

       DATED this 8th day of July, 2020.


                                             ___/S/_______________________________
                                             AUSTIN O. ALLEN
DEFENDANT WESTERN WHOLESALE SUPPLY, INC.’S MOTION FOR SUMMARY JUDGMENT - 1
         Case 4:18-cv-00523-MDH Document 31 Filed 07/08/20 Page 2 of 2




                                CERTIFICATE OF SERVICE

        I hereby certify that I served a true copy of the foregoing document upon the following this
8th day of July, 2020, by electronically filing with the Clerk of the Court using CM/ECF system
with a Notice of Electronic Filing to the following persons:

DeAnn Casperson, Esq.
Amanda Ulrich, Esq.
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                                              ___/S/_______________________________
                                               AUSTIN O. ALLEN




DEFENDANT WESTERN WHOLESALE SUPPLY, INC.’S MOTION FOR SUMMARY JUDGMENT - 2
